Case 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 Page 1of19

EXHIBIT B
12/24/24, 10:38AM Case 1:24-cv-13185-JEK  DocCcasemitals 2Masdadhnsbtibafa@aia ns Page 2 of 19
2485CV01379 Wiernik, Skyler vs. Worcester Polytechnic Institute

e| Case Type:
«| Torts

¢| Case Status:
e| Open

-| File Date
e| 11/15/2024

e| DCM Track:
«| F - Fast Track

«| Initiating Action:
e| Status Date:

| 11/15/2024

| Case Judge:

«| Next Event:

e| Other Negligence - Personal Injury / Property Damage

All Information Party Tickler Docket

Party Information

Wiernik, Skyler
- Plaintiff

Alias

Worcester Polytechnic Institute
- Defendant

Alias

Disposition |

Party Attorney

Attorney

Kristensen, Esq., John P
Bar Code

712688

Address

Kristensen Law Group
120 Santa Barbara St
Suite C9

Santa Barbara, CA 93105
Phone Number
(310)882-97 11

Party Attorney

Attorney

Stallone, Esq., Melanie
Bar Code

711658

Address

Cloherty and Steinberg LLP
One Financial Center
Suite 1120

Boston, MA 02111

Phone Number
(617)481-0605

Attorney

Steinberg, Esq., Victoria L
Bar Code

666482

Address

Cloherty and Steinberg LLP
One Financial Center
Suite 1120

Boston, MA 02111

Phone Number
(617)481-0160

More Party Information

More Party Information

https:/Awww.masscourts.org/eservices/searchresults.page?x=ReQO6RavkvVAxv320UxdptX6p2IhHqj]BUFSERMnF*g8MqeUMA-hMRde6OGHmiiLdQJ...

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Ticklers

Tickler Start Date Due Date Days Due Completed Date

Service 11/15/2024 02/13/2025 90 12/02/2024

Answer 11/15/2024 01/16/2025 62

Rule 12/19/20 Served By 11/15/2024 01/16/2025 62

Rule 12/19/20 Filed By 11/15/2024 02/13/2025 90

Rule 12/19/20 Heard By 11/15/2024 05/14/2025 180

Rule 15 Served By 11/15/2024 01/16/2025 62

Rule 15 Filed By 11/15/2024 02/13/2025 90

Rule 15 Heard By 11/15/2024 03/13/2025 118

Discovery 11/15/2024 01/09/2026 420

Rule 56 Served By 11/15/2024 02/09/2026 451

Rule 56 Filed By 11/15/2024 03/09/2026 479

Final Pre-Trial Conference 11/15/2024 07/06/2026 598

Judgment 11/15/2024 01/11/2027 787

Docket Information

Docket Docket Text File Ref Image Avail.

Date Nbr.

11/15/2024 Complaint electronically filed. 1 @

11/15/2024 Civil action cover sheet filed. 2 Se

11/18/2024 Case assigned to: Image
DCM Track F - Fast Track was added on 11/18/2024

12/02/2024 Service Returned for Worcester Polytechnic Institute through agent/person in charge on 3 @
11/27/24
[E-FILED; Original Requested on 12/03/24] Image

12/17/2024 Attorney appearance electronically filed. 4 @
Applies To: Stallone, Esq., Melanie (Attorney) on behalf of Worcester Polytechnic Institute Image
(Defendant)

12/17/2024 Attorney appearance electronically filed. 5 @
Applies To: Steinberg, Esq., Victoria L (Attorney) on behalf of Worcester Polytechnic Institute Image
(Defendant)

12/17/2024 Plaintiff Skyler Wiernik's Joint Motion to 6 @
to Amend Tracking Order
[E-FILED] Image

12/20/2024 Endorsement on Motion to amend tracking order (#6.0): ALLOWED @
by agreement.
e-document sent 12/24/2024 Image

Judge: Hamilton, Hon. Sarah

Case Disposition

Disposition

Pending

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Case Judge

ee

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Filed 12/26/24 'Page 4 of 19

ket Number

CIVIL ACTION COVER SHEET

DOCKET NUMBER

A4Q5on 1219

Massachusetts Trial Cobrt
Superior Court

OUNTY| Worcester

Plaintiff Skyler Wierik Defendant: WORCESTER POLYTECHNIC NSTITUTE

ADDRESS: 39 Bent Road Sudbury, MA 01776 ADDRESS: 100 Institute Read, Worcester, Massachusetts, 01609

Plaintiff Attorney: John P. Kristensen Defendant Attorney:

ADDRESS: 53 State St., Suite §00, Boston, MA 02109 ADDRESS: ‘
| a

BBO: 712688 BBO: , ot

TYPE OF ACTION AND TRACK DESIGNATION (see Instructions section on next page)
CODE NO, TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
BOo4 Other Negligence - Personal Injury F

Yes, [] No
*If "Other" please describe: '

Is there a class action under Mass. R. Civ. P. 237
Yes [J No
G 3 '

Is there a claim under G.L. c. 93A7

Ljyes [] No

IT Uy

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiffs counsel relies to determine money damages.
{Note to plaintiff: for this form, do nat state double or treble damages; indicate single damages only.)

ORT C s
A. Documented medical expenses to date '

1. Total hospital expenses

2. Total doctor expenses

3. Total chiropractic expenses os

4. Total physical therapy expenses “

1@

5. Total other expenses (describe below) la

Subtotal (1-5):
B. Documented lost wages and compensation to date !

$0.00

C. Documented property damages to date

D. Reasonably anticipated future medical and hospital expenses :

E. Reasonably anticipated lost wages

F. Other documented items of damages (describe below) : $4,000,000

~] |
TOTAL (A-F): _

4

Data Breach related damages

$4,000,000.00

G. Briefly describe plaintiffs injury, including the nature and extent of the injury:

| Data Breach related damages :

TRACT CLAIMS
[| This action includes a claim involving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1fa).

tem # Detailed Description of Each Claim Amount

1. \

Total

_| | Date:

Signature of Attomey/Self-Represented Plaintiff: X

RELATED ACTIONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court.

INIA

CERTIFICATION UNDER 5.J.C. RULE 1:18{5) 1
[hereby certify that | have complied with requirements of Rule 5 of Supreme Judicial Court Rule 1:18: Uniform Rules on Dispute Resolution, requiring that | inform my clients about
court-connected dispute resolution services and discuss with them the advantages and disadvantages of the various methods of dispute resolution.

Signature of Attorney: X /s/John P. Kristensen November 15, 2024

| Date:

uW
Date/Time Printed:1 1-15-2024 12:37:44

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SC0001: 02/24 www,mass.gov/courts
Date Filed 11/45/2024 7:45@MSe 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 ‘Page 5 of 19
Supeser Court - Worcester '

Docket Number CIVIL ACTION COVER SHEET INSTRUCTIONS -
SELECT A CATEGORY THAT BEST DESCRIBES YOUR CASE*

AC. Actions Involving the State/Munielpatityt* ER Equitable Remedies ’ RP Ri a
AA1 Contract Action involving Commonwealth, DO1 Specific Performance of a Contract (A) C01 Land Taking (F)
Municipality, MBTA, etc. A) DO2 Reach and Apply (F) CO2 Zoning Appeal, G.L. c. 404 (F)
AB1 Tortious Action involving Commonwealth, DOS Injunction {F) C03 Dispute Conceming Title (F)
Municipality, MBTA, ete. (A) B04 Reformf Cancel Instrument (F) C04 Foreclosure of a Mortgage (X)
AC1 Real Property Action invalving DOS Equitable Reptavin (F) C05 Condominium Lien & Charges (X)
Commonwealth, Municipality, MBTA etc. (A) D06 Contribution or Indemnification (F) C99 Other Real Property Action (F)
ADT Equity Action involving Commonwealth, DO7 Imposition of a Trust (A}
Municipality, MBTA, etc. (A) DO8 Minority Shareholder’s Suit (A) : MG Miscell, us Civil Acti
AE‘ Administrative Action Involving 209 Interference in Contractual Relationship (F) :
Commonwealth, Municipality, MBTA,etc. (A) D10 Accounting {A} E18 Foreign Discovery Proceeding (%)
D11 Enforcement of Restrictive Covenant (F) E97? Prisoner Habeas Corpus
CN Cont usiness Gas 012 Dlsselution of a Partnership (F) E22 Lottery Assignment, G.L. c. 10, § 28 )
D13 Declaratory Judgment, G.L. ¢. 231A (A) ‘
A0Q1 Services, Labor, and Materials (F) 014 Dissolution of a Corporation (F) ‘AB Abuse/Harassment Prevention
A02 Goods Sold and Delivered (F) D9 Other Equity Action (F)
403 Commercial Paper (F) E15 Abuse Prevention Petition, G.L.c. 209A (x)
A04 Employment Contract (F) PA Civil Actions Involving Incarcerated Party + E21 Protection from Harassment, G.L, c. 258E(X)
AOS Consumer Revolving Credit-mrcp.a1  (F)
A06 Insurance Contract (F} PA1 Contract Action involving an ' . Intstrati lon.
AB Sale or Lease of Real Estate (F} Incarcerated Party (A) ‘ '
Ai2 Construction Dispute (A) PB1 Tortious Action involving an E02 Appeal from Administrative Agency,
A14 Interpleader (F) Incarcerated Party (A) ' GL. 30A ()
BA1 Govemance, Conduct, Internal PC1 Real Property Action involving an E03 Certiorari Action, G.L. c. 249, § 4 (x)
Affairs of Entities (A) Incarcerated Party (F) E05 Confirmation of Arbitration Awards (Xx)
BAS Liability of Shareholders, Directors, PD1 Equity Action involving an E06 Mass Antitrust Act, G.L. c. 93, § 9 (A)
Officers, Partners, etc. (A) Incarcerated Party (F} E07 Mass‘Antitrust Act, G.L. c. 93, § 8 ®
BB1 Shareholder Derivative (A) PEt Administrative Action involving an Eos Appointment of a Receiver ®
BB2 Securities Transactions (A} Incarcerated Party (F) E09 Construction Surety Bond, GL. c. 149,
BC1 Mergers, Consolidations, Sales of §§ 29, 294 (A)
Assets, Issuance of Debt, Equity, etc. {A} TRTorts , E10 Summary Process Appeal {X)
BD1 Intellectual Property (A) E11 Warkers Compensation (X)
BD2 Proprietary Information or Trade B03 Motor Vehicle Negligence - Personal E16 Auto Surcharge Appeal (X)
Secrets (A} Injury/Property Damage (F) E17 Civil Rights Act, G.L..12, § 11H (A)
BG1 Financial Institutions/Funds (A) B04 Other Negligence - Personal E24 Appeal from District Court
BH1 Violation of Antitrust or Trade Injury/Property Damage (F) Commitment, GL. ¢.123, § 9(b} (X)
Regulation Laws (A) BOS Products Liability (A) E94 Forfeiture, G.L. c. 265, § 56 (X)}
Ag9 Other Contract/Business Action - Specify (F} BO6 Malpractice - Medical (A} E95 Forfeiture, G.L. c. 946, § 47 (F)
BO? Malpractice - Oiher (A) E99 Other Administrative Action (X)
* See Superior Court Standing Order 1-88 for an BO8 Wrongful Death - Non-medical (A) 201 Medical Malpractice - Tribunal onty,
explanation of the tracking deadlines for each track B15 Defamation (A) GL. c. 231, § 60B (F)
designation: F, A, and X. On this page, the track B19 Asbestos {A} Z02 Appeal Bond Dental {X)
designation for each case type is noted in B20 Personal Injury - Slip & Fall {F)
parentheses. B21 Environmental (F) O Sex nder Reviaw
B22 Employment Discrimination (F
t® Choose this case type if ANY party is the BE‘ Fraud, Business Torts, etc. (A) E12 SDP Commitment, G.L.c.123A,§12 (X)
Commonwealth, a municipality, the MBTA, or any B99 Other Tortious Action F) E14 SDP Petition, GL. c. 123A, § Sib) X
other governmental entity UNLESS your case is a '
case type listed under Administrative Civil Actions P al Pro! : e. Civil Actio:
AA).
ms) 301 Summary Process - Residential (x) E19 Sex Offender Registry, G.L. ¢. 6, § 178M (xX)
? Choose this case type if ANY party is an 302 Summary Process - Commercial E27 Minor Seeking Consent, G.L. c.112, § 125(X)
incarcerated party, UNLESS your case Is a case Non-residential (F) *
type listed under Administrative Civil Actions (AA) 4
or is a Prisoner Habeas Corpus case (E97), TRANSFER YOUR SELECTION TO THE FACE SHEET :
EXAMPLE:
CODE NO, TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
Bo4 Other Negligence-Personal Injury EF xX YES C] NO

STATEMENT OF DAMAGES REQUIRED BY G.L. c. 212,§3A |

DUTY OF THE PLAINTIFF —- On the face of the Civil Action Cover Sheet (or on attached additional sheets, if necessary}, the plaintiff shall
state the facts on which the plaintiff relies to determine money damages. A copy of the completed Civil Action Cover Sheet, including the
statement conceming damages, shall be served with the complaint. A clerk-magistrate shall not accept for filing a complaint, except as
otherwise provided by law, unless it is accompanied by such a statement signed by the attorney or self-represented litigant.

DUTY OF THE DEFENDANT — If the defendant believes that the statement of damages filed by the plaintiff is|inadequate, the defendant may
file with the defendant's answer a statement specifying the potential damages which may result if the plaintiff prevails.

A CIVIL ACTION COVER SHEET MUST BE FILED WITH EACH COMPLAINT.
IF THIS COVER SHEET IS NOT FILLED OUT THOROUGHLY AND
ACCURATELY, THE CASE MAY BE DISMISSED.
SC0001: 02/24 www.mass.gov/courts Date/Time Printed:11-15-2024 12:37:44
ate Filed 12/2/0004 11.4@SC 1:24-Cv-13185-JEK Document1-2 Filed 12/26/24 Page 6 of 19

Superior Court - Worcester
Docket Number 2485CV01379

COMMONWEALTH OF MASSACHUSETTS

WORCESTER, ss SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
SKYLER WIERNIK, individually and on Civil Case No. 2485VC01379

behalf of all others similarly situated,

Plaintiff, CLASS ACTION

v.
PLAINTIFF’S NOTICE OF PROOF

WORCESTER POLYTECHNIC OF SERVICE OF SUMMONS,
INSTITUTE, COMPLAINT, AND OTHER CASE
INITIATING DOCUMENTS TO
Defendant. DEFENDANT WORCESTER
POLYTECHNIC

“A

PLAINTIFFE’S NOTICE OF PROOF OF SERVICE OF SUMMONS, COMPLAINT, AND
OTHER CASE INITIATING DOCUMENTS TO DEFENDANT WORCESTER
POLYTECHNIC INSTITUTE

KRISTENSEN
LAW GROUP

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PLAINTIFF’S NOTICE OF PROOF OF SERVICE
-]-
Date Filed 12/2/2024 11-34pMoe 1:24-Cv-13185-JEK Document1-2 Filed 12/26/24 Page 7 of 19

Superior Court - Worcester
Docket Number 2485CV01379

TO THE CLERK OF THE COURT AND ALL PARTIES AND THEIR
ATTORNEYS OF RECORD:

In accordance with Massachusetts Rule of Civil Procedure 4, attached hereto as “Exhibit
1” is a true and correct copy of the proof of service of the Summons, Complaint, and other case
initiating documents upon defendant Worcester Polytechnic Institute (“Defendant”), which was
served on November 27, 2024. Defendant North Cottage Program, Inc.’s deadline to serve

plaintiff Skyler Wiernik (“Plaintiff”) with a responsive pleading is Tuesday, December 17, 2024.

Dated: December 1, 2024 Respectfully submitted,

/s/ John P. Kristensen

John P. Kristensen, BBO # 712688
KRISTENSEN LAW GROUP

53 State Street, Suite 500

Boston, MA 02109

Telephone: (617) 913-0363
john@kristensen.law

KRISTENSEN
LAW GROUP

Leigh S. Montgomery*
Texas Bar No. 24052214
Imontgomery@eksm.com
EKSM, LLP

1105 Milford Street
Houston, Texas 77006
Phone: (888) 350-3931
Fax: (888) 276-3455

LE

ATTORNEYS FOR PLAINTIFF
(* denotes pro hac vice forthcoming)

PLAINTIFF’S NOTICE OF PROOF OF SERVICE
-2-
Date Filed 12/2/2004 11-34P@SC 1:24-cv-13185-JEK Documenti1-2 Filed 12/26/24 Page 8of19

Superior Court - Worcester
Docket Number 2485CV01379

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Superior.Court - Worcester ~~ 7 : me . PR RE, oe
Docket Number 2485CV01379 . : . . oe

WORCESTER POLYTECHNICINSTITUTE

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Superior Court - Worcester
Docket Number 2485CV01379

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Date Filed 12/17/2024 9:45 BMe 1:24-cv-13185-JEK Documenti1-2_ Filed 12/26/24. Page 11 of 19

Superior Court - Worcester

Docket Number 2485CV01379 E - F | L E D

COMMONWEALTH OF MASSACHUSETTS

WORCESTER, ss. SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO. 2485CV01379 Cy

t

SKYLER WIERNIK, individually and on behalf
of all others similarly situated,

Plaintiff,
v.
WORCESTER POLYTECHNIC INSTITUTE, \

Defendant.

NOTICE OF APPEARANCE
Please enter the appearance of Melanie Stallone as counsel for, the Defendant Worcester

Polytechnic Institute in the above-captioned matter.

Respectfully submitted,

Melanie Stallone (BBO #711658)
CLOHERTY & STEINBERG LLP
One Financial Center, Suite 1120
Boston, MA 02111

Tel: (617) 481-0160

mstallone@clohertysteinberg.com

Dated: December 17, 2024
Date Filed 12/17/2024 9:45BMo 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 Page 12 of 19

Superior Court - Worcester
Docket Number 2485C'V01379

CERTIFICATE OF SERVICE

I, Melanie Stallone, hereby certify that on December 17, 2024, a true and correct copy of
the foregoing document was served via email upon on all counsel of record.

Melanie Stallone

Date Fited 12/17/2024 946M 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 Page 13 of 19

Superior Court - Worcester
| E-FILED

Docket Number 2485CV01379

COMMONWEALTH OF MASSACHUSETTS

WORCESTER, ss. SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO. 2485CV01379 Cy

SKYLER WIERNIK, individually and on behalf
of all others similarly situated,

Plaintiff,
Vv.
WORCESTER POLYTECHNIC INSTITUTE,

Defendant.

NOTICE OF APPEARANCE
Please enter the appearance of Victoria L. Steinberg as counsel for the Defendant Worcester

Polytechnic Institute in the above-captioned matter.

5

Respectfully submitted,

Vy

Victoria L. Steinberg (BBO #666482)
Cloherty & Steinberg LLP.

One Financial Center, Suite 1120
Boston, MA 02111

(617) 481-0160
vsteinberg@clohertysteinberg.com

Dated: December 17, 2024
Date Filed 12/17/2024 9:46eMbe 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 Page 14 of 19

Superior Court - Worcester
Docket Number 2485CV01379

CERTIFICATE OF SERVICE

I, Melanie Stallone, hereby certify that on December 17, 2024, a true and correct copy of
the foregoing document was served via email upon on all counsel of record.

Melanie Stallone

Date Filed 12/17/2024 9:49 PM
Superior Court - Worcester

Dooket Number 2485cvoi1segase 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 ‘EL of 19

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COMMONWEALTH OF MASSACHUSETTS

WORCESTER, ss. SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO. 2485CV01379 C

SKYLER WIERNIK, individually and on behalf
of all others similarly situated,

Plaintiff,
V.
WORCESTER POLYTECHNIC INSTITUTE, 6~

Defendant.

JOINT MOTION TO AMEND TRACKING ORDER

Pursuant to Massachusetts Superior Court Rule 9F, Plaintiff Skyler Wiernik and
Defendant Worcester Polytechnic Institute (“WPI”) (together, the “Parties”) hereby jointly
request that the Court amend the Tracking Order for this case. This Joint Request is the first
request regarding the deadlines set by the Court in this case.

Service of the Summons and Complaint was made on November 27, 2024, and service of
a responsive pleading is due by December 17, 2024. The Parties have agreed to a one-month
extension of time, through and including January 16, 2025, for WPI to serve Plaintiff with a
responsive pleading. Accordingly, the Parties jointly request that the Court amend the Tracking
Order to reflect the Parties’ agreed-upon responsive pleading deadline, and to set any subsequent
deadlines in kind. The Parties have conferred and agree that no party will be prejudiced by
allowance of this motion.

Specifically, the Parties have conferred and request that the Court amend the Tracking

Order as follows:
Date Filed 12/17/2024 9:49 PM
Superior Court - Worcester .
Docket Number 2485cvo1s7gAS© 1:24-Ccv-13185-JEK

Document 1-2

Filed 12/26/24

Page 16 of 19

Event

Parties’ Proposed
Deadline

Answer

January 16, 2025

Rule 12/19/20 Served By

January 16, 2025

Rule 12/19/20 Filed By

February 13, 2025

Rule 12/19/20 Heard By

March 13, 2025

Rule 15 Served By

January 16, 2025

Rule 15 Filed By

February 13, 2025

Rule 15 Heard By

March 13, 2025

Discovery

January 9, 2026

Rule 56 Served By

February 9, 2026

Rule 56 Filed By

March 9, 2026

Final Pre-Trial Conference

July 6, 2026

Judgment

January 11, 2027

WHEREFORE, the Parties jointly request that this Court amend the Tracking Order in
this case to reflect the Parties’ agreed-upon deadline for WPI to submit its responsive pleading

and set all subsequent deadlines in kind.

Dated: December 17, 2024
Date Filed 12/17/2024 9:49 PM
Caer ter agen Gpse 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 Page 17 of 19

Respectfully submitted,

WORCESTER POLYTECHNIC
INSTITUTE,
By its attorneys,

/s/ Victoria L Steinberg

Victoria L. Steinberg (BBO #666482)
vsteiberg@clohertysteinberg.com
Melanie Stallone (BBO #711658)
mstallone@clohertysteinberg.com
CLOHERTY & STEINBERG LLP

One Financial Center, Suite 1120
Boston, MA 02111

Tel: (617) 481-0160

/s/ Carey §. Busen

Carey S. Busen* (DC Bar #982217)
cbusen@bakerlaw.com

Gilbert S. Keteltas* (DC Bar #421236)
gketeltas@bakerlaw.com

BAKER & HOSTETLER LLP

1050 Connecticut Ave N.W., Suite 1100
Washington, DC 20036

Tel: (202) 861-1568

SKYLER WIERNIK,
By his attorneys,

/s/ John P. Kristensen

John P. Kristensen (BBO #712688)
john@kristensen.law

KRISTENSEN LAW GROUP

53 State Street, Suite 500

Boston, MA 02109

Tel: (617) 913-0360

/s/ Leigh S. Montgomery

Leigh S. Montgomery* (TX Bar #24052214)
Imontgomery(@eksm.com

EKSM, LLP

1105 Milford Street

Houston, Texas 77006

Tel: (888) 350-3931

(*pro hac vice motion forthcoming)
Date Filed 12/17/2024 9:49 PM
Cee tr agen Gpse 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 Page 18 of 19

CERTIFICATE OF SERVICE

I, Victoria L. Steinberg, hereby certify that on December 17, 2024, a true and correct copy
of the foregoing document was served via email upon on all counsel of record.

/s/ Victoria L. Steinberg
Victoria L. Steinberg

Date Filed 12/17/2024 S:4@@NSe 1:24-cv-13185-JEK Document1-2 Filed 12/26/24 Page 19 of 19
. Superior Gourt - Worcester

Docket Number 2485CV01379 F

COMMONWEALTH OF MASSACHUSETTS

WORCESTER, ss. SUPERIOR COURT DEPARTMENT

CIVIL ACTION NO. 2485CV01379 C

SKYLER WIERNIK, individually and on behalf
of all others similarly situated,

Plaintiff,
V.

WORCESTER POLYTECHNIC INSTITUTE,

Defendant.

JOINT MOTION TO AMEND TRACKING ORDER

Pursuant to Massachusetts Superior Court Rule 9F, Plaintiff Skyler Wierntk and
Defendant Worcester Polytechnic Institute (“WPI”) (together, the “Parties”) hereby jointly
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responsive pleading. Accordingly, the Parties jointly request that the Court amend the Tracking

Order to reflect the Parties’ agreed-upon responsive pleading deadline, and to set any subsequent

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deadlines in kind. The Parties have conferred and agree that no party will be prejudiced by

t

allowance of this motion.

EDee

Specifically, the Parties have conferred and request that the Court amend the Tracking

Order as follows:

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